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Gerald Krovatin
Helen A. Nau*

Also Admitted in NY*

                                             December 21, 2023

      VIA ELECTRONIC MAIL

      James E. Smith, Assistant Chief Litigation Counsel
      Securities and Exchange Commission
      100 F Street NE
      Washington, DC 20549

                       Re:    Securities and Exchange Commission
                              v. Princeton Alternative Funding, LLC, et als.
                              Case No. 21-12971 (RK-JBD)

      Dear Mr. Smith:

                      As referenced in my earlier letter to you, enclosed please find the transcript of a
      hearing in the sentencing of the Defendant in the matter of United States v. David Allen Harbour,
      Docket No. 2:19-cr-00898-DLR on November 29, 2023 in federal court in Phoenix, Arizona. Mr.
      Burgess' testimony begins at p. 13 of the enclosed.

                       Please call me if you have any questions.

                                             Very truly yours,

                                                     1
                                             Gekald Krovatin

      Cc:       Hon. Douglas L. Rayes, U.S.D.J.
                Kevin M. Rapp, Assistant U.S. Attorney
                Stephen M. Dichter, Esq.
                Mr. Philip N. Burgess, Jr.
